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                                       /s/ David D. Noce
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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI

IN THE MATTER OF THE SEARCH OF                   )
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DESCRIBED IN ATTACHMENT A
                                                 )     FILED UNDER SEAL
                                                 )

            AFFIDAVIT IN SUPPORT OF AN APPLICATION UNDER RULE 41
                           FOR A SEARCH WARRANT

       I, Rex Dixon, being first duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

       1.      I make this affidavit in support of an application under Rule 41 of the Federal

Rules of Criminal Procedure for a search warrant authorizing the examination of property – an

electronic device – described in Attachment A, which is currently in law enforcement

possession, and the extraction from that property of electronically stored information described

in Attachment B.

       2.      I am a Special Agent (SA) with the Drug Enforcement Administration (DEA),

United States Department of Justice (DOJ). As such, I am an investigative and law enforcement

officer of the United States (U.S.) within the meaning of Title 18, U.S. Code, Section 2510 (7),

who is empowered to conduct investigations of, and to make arrests for, the offenses enumerated

in Title 18, U.S. Code, Section 2516 and offenses enumerated in Title 21 U.S. Code. I am a

Special Agent with the Drug Enforcement Administration (DEA), and have been since April of

2019. As part of my training at Quantico, I attended courses involving the legal aspects of federal

drug law enforcement, drug enforcement techniques, asset forfeiture and affidavit writing.

During the course of my law enforcement experience, I have participated in investigations

involving controlled substances, including investigations involving individuals dealing in heroin,

fentanyl, cocaine, methamphetamine and marijuana. I have participated in investigations which
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led to the seizure of illegal drugs, weapons, and assets derived from the sale of illegal drugs, and

the subsequent felony arrests of those individuals involved. I am familiar with and have used

normal methods of investigation, including but not limited to, visual and electronic surveillance,

questioning of witnesses and defendants, the use of search and arrest warrants, the use of

informants, the use of pen registers, the utilization of confidential sources and undercover agents,

and the use of court-authorized wire and electronic intercepts. Prior to becoming a Special

Agent, I served as an active duty member of the United States Air Force for six (6) years.

       3.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. This affidavit is intended

to show merely that there is sufficient probable cause for the requested warrant and does not set

forth all of my knowledge about this matter.

       4.      I have been involved in all aspects of narcotics trafficking investigations,

including (a) the debriefing of defendants, witnesses, and informants, as well as others who have

knowledge of the distribution and transportation of controlled substances, and of the laundering

and concealing of proceeds from drug trafficking; (b) surveillance; and (c) analysis of

documentary and physical evidence. I have received training in narcotics investigations from the

several agencies including the Drug Enforcement Administration.


       5.      Based on my training and experience and the facts as set forth in this affidavit,

there is probable cause to believe that violations of Title 21, United States Code, Sections 846

and 841(a) (conspiracy to distribute and possess with intent to distribute controlled substances)

have been committed by Danyel HERROD or other persons known and unknown. There is also

probable cause to search the information described in Attachment A for evidence of these crimes

and contraband or fruits of these crimes, as described in Attachment B.


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   LOCATION TO BE SEARCHED AND IDENTIFICATION OF TARGET DEVICES

       6.       The property to be searched includes the following:

       Target Device: a White Apple iPhone, contained within a black protective case. DEA
       Non-Drug exhibit N-109.

       7.       Investigators seized the Target Device from 5118 Aubert St, St. Louis, MO

63115 on October 14, 2021, subsequent to the arrest of Danyel HERROD.


       8.       The applied-for warrant would authorize the forensic examination of the Target

Device for the purpose of identifying electronically stored data particularly described in

Attachment B.

                                     TECHNICAL TERMS

       9.       Based on my training and experience, I use the following technical terms to

convey the following meanings:

            a. Wireless telephone: A wireless telephone (or mobile telephone, or cellular

                telephone) is a handheld wireless device used for voice and data communication

                through radio signals.    These telephones send signals through networks of

                transmitter/receivers, enabling communication with other wireless telephones or

                traditional “land line” telephones. A wireless telephone usually contains a “call

                log,” which records the telephone number, date, and time of calls made to and

                from the phone.      In addition to enabling voice communications, wireless

                telephones offer a broad range of capabilities. These capabilities include: storing

                names and phone numbers in electronic “address books;” sending, receiving, and

                storing text messages and e-mail; taking, sending, receiving, and storing still

                photographs and moving video; storing and playing back audio files; storing

                dates, appointments, and other information on personal calendars; and accessing
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         and downloading information from the Internet. Wireless telephones may also

         include global positioning system (“GPS”) technology for determining the

         location of the Target Device. A wireless telephone may have wireless

         connection capabilities such as Wi-Fi and Bluetooth.

      b. Digital camera: A digital camera is a camera that records pictures as digital

         picture files, rather than by using photographic film. Digital cameras use a

         variety of fixed and removable storage media to store their recorded images.

         Images can usually be retrieved by connecting the camera to a computer or by

         connecting the removable storage medium to a separate reader.         Removable

         storage media include various types of flash memory cards or miniature hard

         drives. Most digital cameras also include a screen for viewing the stored images.

         This storage media can contain any digital data, including data unrelated to

         photographs or videos.

      c. Portable media player: A portable media player (or “MP3 Player” or iPod) is a

         handheld digital storage device designed primarily to store and play audio, video,

         or photographic files. However, a portable media player can also store other

         digital data. Some portable media players can use removable storage media.

         Removable storage media include various types of flash memory cards or

         miniature hard drives. This removable storage media can also store any digital

         data. Depending on the model, a portable media player may have the ability to

         store very large amounts of electronic data and may offer additional features such

         as a calendar, contact list, clock, or games.

      d. GPS: A GPS navigation device uses the Global Positioning System to display its

         current location. It often contains records the locations where it has been. Some
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         GPS navigation devices can give a user driving or walking directions to another

         location. These devices can contain records of the addresses or locations involved

         in such navigation.     The Global Positioning System (generally abbreviated

         “GPS”) consists of 24 NAVSTAR satellites orbiting the Earth. Each satellite

         contains an extremely accurate clock. Each satellite repeatedly transmits by radio

         a mathematical representation of the current time, combined with a special

         sequence of numbers. These signals are sent by radio, using specifications that

         are publicly available. A GPS antenna on Earth can receive those signals. When

         a GPS antenna receives signals from at least four satellites, a computer connected

         to that antenna can mathematically calculate the antenna’s latitude, longitude, and

         sometimes altitude with a high level of precision.

      e. PDA: A personal digital assistant, or PDA, is a handheld electronic device used

         for storing data (such as names, addresses, appointments or notes) and utilizing

         computer programs.      Some PDAs also function as wireless communication

         Devices and are used to access the Internet and send and receive e-mail. PDAs

         usually include a memory card or other removable storage media for storing data

         and a keyboard and/or touch screen for entering data. Removable storage media

         include various types of flash memory cards or miniature hard drives. This

         removable storage media can store any digital data. Most PDAs run computer

         software, giving them many of the same capabilities as personal computers. For

         example, PDA users can work with word-processing documents, spreadsheets,

         and presentations. PDAs may also include global positioning system (“GPS”)

         technology for determining the location of the Target Device.


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      f. Tablet: A tablet is a mobile computer, typically larger than a phone yet smaller

         than a notebook, that is primarily operated by touching the screen.         Tablets

         function as wireless communication Devices and can be used to access the

         Internet through cellular networks, 802.11 “wi-fi” networks, or otherwise.

         Tablets typically contain programs called apps, which, like programs on a

         personal computer, perform different functions and save data associated with

         those functions. Apps can, for example, permit accessing the Web, sending and

         receiving e-mail, and participating in Internet social networks.

      g. Pager: A pager is a handheld wireless electronic device used to contact an

         individual through an alert, or a numeric or text message sent over a

         telecommunications network. Some pagers enable the user to send, as well as

         receive, text messages.

      h. IP Address: An Internet Protocol address (or simply “IP address”) is a unique

         numeric address used by computers on the Internet. An IP address is a series of

         four numbers, each in the range 0-255, separated by periods (e.g., 121.56.97.178).

         Every computer attached to the Internet computer must be assigned an IP address

         so that Internet traffic sent from and directed to that computer may be directed

         properly from its source to its destination. Most Internet service providers control

         a range of IP addresses. Some computers have static—that is, long-term—IP

         addresses, while other computers have dynamic—that is, frequently changed—IP

         addresses.

      i. Internet: The internet is a global network of computers and other electronic

         devices that communicate with each other. Due to the structure of the internet,

         connections between devices on the internet often cross state and international
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               borders, even when the Target Devices communicating with each other are in the

               same state.

       10.     Based on my training and experience, I know that the Target Device has

capabilities that allow it to serve as a wireless telephone, digital camera, portable media player,

GPS navigation Device, and PDA.” In my training and experience, examining data stored on

devices of this type can uncover, among other things, evidence that reveals or suggests who

possessed or used the Target Device.

                                     PROBABLE CAUSE

       11.     I am a part of the investigative team that is currently investigating a drug

trafficking organization (DTO) operating in the Eastern District of Missouri. The investigative

team has identified Danyel HERROD as a member of this DTO.                  In October of 2021,

investigators identified Danyel HERROD as a fentanyl and marijuana distributor in the St.

Louis, Missouri area.

       12.     On October 14, 2021, a criminal complaint was signed in the Eastern District of

Missouri, charging Kevin CUNNINGHAM and Micah GORDON with a conspiracy to commit a

murder-for-hire in violation of Title 18, United States Code, Sections 2, 371, and 1958 (Cause

No. 4:21-MJ-3257-NCC). The intended target of this murder-for-hire was HERROD.

Investigators learned that HERROD owed CUNNINGHAM a substantial drug-related debt.

CUNNINGHAM attempted to hire individuals to murder HERROD in exchange for monetary

payment, and to attempt to recover some of this debt. This was learned through the use of a

confidential informant (hereafter “CI”), who had multiple conversations with CUNNINGHAM

and others discussing these facts. These conversations took place over the telephone and in

person, all of which were audio and/or video recorded.


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        13.    On October 14, 2021, after the Criminal Complaint was signed for

CUNNINGHAM, investigators attempted to make contact with the intended victim, HERROD,

as both part of the investigation and in order to notify him, for his own safety, of the plot against

his life. Investigators arrived at 5118 Aubert Avenue, St. Louis, MO 63115, which is known to

be HERROD’s residence. Upon knocking on the door, HERROD and at least two other

accomplices emerged from the backdoor of the residence in an apparent attempt to evade law

enforcement. Investigators observed two of the individuals to be carrying firearms, including

HERROD.

        14.    A third individual fled the area, at which time HERROD and the unknown

accomplice returned inside the residence with said firearms.            Additionally, investigators

observed HERROD drop a bag of white powder with several cellular telephones prior to re-

entering the premises. The substance was seized by investigators but has not been tested, but

based on training and experience, the color, texture, and packaging of the powder is consistent

with fentanyl and appears to be approximately one ounce, which is consistent with an intent to

distribute.   The preliminary identification of the drug as fentanyl is also consistent with

HERROD’s subsequent statement that he distributes fentanyl.

        15.    Investigators located a firearm along the flight path that the third individual ran.

This location was also near a rear window of HERROD’s residence that was not visible to

investigators after HERROD and the other male had entered the residence. The firearm was

further described as Ruger 5.7 semi-automatic handgun and being of a 5.7 x 28 mm caliber.

Additionally, an additional cellular device (the Target Device) was located in the backyard of

5118 Aubert St.

        16.    Investigators attempted to request that HERROD and the second subject exit the

residence. Investigators proceeded to seek a search warrant for the premises while continuing to
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request that HERROD and the second subject exit the residence. On October 14, 2021, United

States Magistrate Judge Noelle Collins issued a federal search warrant for the residence. On

October 14, 2021, the search warrant was executed. Prior to the execution of the search warrant,

HERROD and a second individual, who had tried to flee along with another resident, exited the

residence from the front door after refusing investigators requests to exit the residence.

       17.     Investigators arrested HERROD and found him to be in possession of

approximately $2,000 of various denominations. HERROD was advised of his rights per

Miranda, as witnessed by this affiant, and waived his rights. A search of the residence by

investigators revealed several magazines containing 5.7 x 28 mm caliber ammunition, the same

caliber as the firearm located outside the residence. Investigators located capsules of suspected

fentanyl/heroin on the toilet in the bathroom as well as scales and baggies in the residence that

were believed to be associated with the distribution of controlled substances.

       18.     HERROD provided his consent to search his rental vehicle that was on the street

near HERROD’s residence. Inside the vehicle, investigators located a magazine containing 5.7

x 28 mm caliber ammunition as well as a bag containing white powder. The substance has not

been tested, but based on training and experience, the color, texture, and packaging of the

powder is consistent with fentanyl and appears to be approximately one-half ounce, which is an

amount consistent with an intent to distribute.

       19.     HERROD provided his consent to a search of two cellular telephones, which

were found in the back yard located next to the bag of white powder. HERROD stated that the

Target Device did not belong to him, and that he believed it belonged to one of the individuals

that fled from law enforcement.




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       20.     On October 14, 2021, the Target Device was seized as DEA non-drug exhibit N-

109. The Target Device is currently in the lawful possession of DEA, within the Eastern District

of Missouri.

       21.     While the investigative agency(ies) might already have all necessary authority to

examine the Target Device, I seek this additional warrant out of an abundance of caution to be

certain that an examination of the Target Device will comply with the Fourth Amendment and

other applicable laws. The owner/user of the Target Device’s association with HERROD,

combined with both his/her immediate flight and abandonment of the Target Device when

contacted by law enforcement, as well as and the Target Device’s proximity to a firearm and

distributable amounts of controlled substances, gives rise to probable cause that the Target

Device will contain evidence of criminality.

       22.     In my training and experience, I know that the Target Device have been stored in

a manner in which their contents are, to the extent material to this investigation, in substantially

the same state as they were when the Target Device first came into the possession of the

investigative agency(ies).

       23.     I know from prior investigations and subsequent de-briefing of involved parties

by investigative team members, that persons such as those described herein are known to

compartmentalize the use of multiple electronic devices. As an example, a subject will use a

certain electronic device to contact sources of supply, another electronic device to contact

couriers, and other electronic devices to contact underlings, so forth and so on. Based on my

training and experience and that of the investigative team, I know these measures are employed

to thwart law enforcement's ability to detect persons engaged in criminal activity and conduct

electronic surveillance on co-conspirators. Based on the number of electronic devices seized

during this investigation, investigators believe that the targets described herein may be
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compartmentalizing the use of his electronic devices, as related above.

                   ELECTRONIC STORAGE AND FORENSIC ANALYSIS

       24.      Based on my knowledge, training, and experience, I know that electronic devices

can store information for long periods of time. Similarly, things that have been viewed via the

Internet are typically stored for some period of time on the Target Device. This information can

sometimes be recovered with forensics tools.

       25.      Forensic evidence. As further described in Attachment B, this application seeks

permission to locate not only electronically stored information that might serve as direct

evidence of the crimes described on the warrant, but also forensic evidence that establishes how

the Target Device were used, the purpose of its use, who used it, and when. There is probable

cause to believe that this forensic electronic evidence might be on the Target Device because:

             a. Data on the storage medium can provide evidence of a file that was once on the

                storage medium but has since been deleted or edited, or of a deleted portion of a

                file (such as a paragraph that has been deleted from a word processing file).

             b. Forensic evidence on a device can also indicate who has used or controlled the

                Target Device. This “user attribution” evidence is analogous to the search for

                “indicia of occupancy” while executing a search warrant at a residence.

             c. A person with appropriate familiarity with how an electronic device works may,

                after examining this forensic evidence in its proper context, be able to draw

                conclusions about how electronic devices were used, the purpose of their use, who

                used them, and when.

             d. The process of identifying the exact electronically stored information on a storage

                medium that is necessary to draw an accurate conclusion is a dynamic process.

                Electronic evidence is not always data that can be merely reviewed by a review
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                team and passed along to investigators. Whether data stored on a computer is

                evidence may depend on other information stored on the computer and the

                application of knowledge about how a computer behaves. Therefore, contextual

                information necessary to understand other evidence also falls within the scope of

                the warrant.

             e. Further, in finding evidence of how a device was used, the purpose of its use, who

                used it, and when, sometimes it is necessary to establish that a particular thing is

                not present on a storage medium.

       26.      Nature of examination.      Based on the foregoing, and consistent with Rule

41(e)(2)(B), the warrant I am applying for would permit the examination of the Target Device

consistent with the warrant. The examination may require authorities to employ techniques,

including but not limited to computer-assisted scans of the entire medium, that might expose

many parts of the Target Device to human inspection in order to determine whether it is

evidence described by the warrant.

                                         CONCLUSION

       27.      I submit that this affidavit supports probable cause for a search warrant

authorizing the examination of the Target Device described in Attachment A to seek the items

described in Attachment B.

       28.      Because this warrant seeks only permission to examine the Target Device already

in law enforcement’s possession, the execution of this warrant does not involve the physical

intrusion onto a premises. Consequently, I submit there is reasonable cause for the Court to

authorize execution of the warrant at any time in the day or night.

       29.      It is respectfully requested that this Court issue an order sealing, until further

order of the Court, all papers submitted in support of this application, including the application
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 /s/ David D. Noce                             Dec. 14, 2021
                                              _____________
                                              Date
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                                  ATTACHMENT A

    The property to be searched includes the following:

    Target Device: a white Apple iPhone, contained within a black protective case. DEA
    Non-Drug exhibit N-109.
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                                       ATTACHMENT B

       1.      All records on the Target Device described in Attachment A that relate to

violations of Title 21, United States Code, Sections 846 and 841(a) (conspiracy to distribute and

possess with intent to distribute controlled substances) and involve Danyel HERROD and others

known and unknown, including:

            a. Lists of customers and related identifying information;

            b. Types, amounts, and prices of drugs trafficked as well as dates, places, and

               amounts of specific transactions;

            c. Any information related to sources of drugs (including names, addresses, phone

               numbers, or any other identifying information);

            d. All bank records, checks, credit card bills, account information, and other

               financial records.

       2.      Evidence of user attribution showing who used or owned the Target Device at the

time the things described in this warrant were created, edited, or deleted, such as logs,

phonebooks, saved usernames and passwords, documents, and browsing history;

       As used above, the terms “records” and “information” include all of the foregoing items

of evidence in whatever form and by whatever means they may have been created or stored,

including any form of computer or electronic storage (such as flash memory or other media that

can store data) and any photographic form.




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